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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:13CR378
                      Plaintiff,                )
                                                )
       vs.                                      )                   ORDER
                                                )
CLARENCE DENNIS, JR.,                           )
                                                )
                      Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant
Clarence Dennis, Jr. (Dennis) (Filing No. 28). Dennis seeks additional time in which to file
pretrial motions in accordance with the progression order. Dennis' counsel represents that
Dennis will file an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act. Dennis' counsel represents that government's counsel has no objection to the motion.
Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Dennis' motion for an extension of time (Filing No. 28) is granted. Dennis is
given until on or before December 9, 2013, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising as a
result of the granting of the motion, i.e., the time between November 25, 2013, and December
9, 2013, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and
complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 25th day of November, 2013.
                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
